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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF INDIANA
                                            HAMMOND DIVISION

          IN RE:                                            )
                                                            )
          DEBORAH K. SALLADE,                               )        CASE NO.: 14-20183
                                                            )
                           Debtor.                          )        Chapter 7

                                                       ORDER


                   This cause came to be heard on Trustee’s Motion for Turnover of requested documents

          and estate assets; notice of said Motion and Opportunity to Object were provided by movant; and

          the Court being duly advised in the premises, and now finds that said Motion should be granted

          and, therefore it is

                   ORDERED that the Debtor turnover to Kenneth A. Manning, Trustee, the following:

                   Debtor turnover 2013 Federal and State Tax Refunds in the amount of $1,472.00.

                   IT IS FURTHER ORDERED that in the event the Debtor fails to comply with the

          Order, Trustee may follow the appropriate procedure to Object to or Revoke Discharge.

SO ORDERED  this 2nd day of May, 2014.
        Dated:_________________                         ____________________________________
                                                        JUDGE, U.S. BANKRUPTCY COURT




          DISTRIBUTION:
          U.S. Trustee, 555 One Michiana Square, South Bend, IN 46601
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